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   7 MARTINEZ, an individual and Officer of
     the Azusa Police Department, CITY OF
   8 AZUSA, a public entity
   9                                UNITED STATES DISTRICT COURT
  10             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 JOSEPH F. INIGUEZ,                                 Case No. 2:22-cv-00106 MCS (GJSx)
                                                        [District Judge: Mark C. Scarsi;
  13                       Plaintiff,                   Magistrate: Gail J. Standish]
  14             v.
                                                        DEFENDANTS OFFICER R.
  15 OFFICER R. MARTINEZ, an                            MARTINEZ AND CITY OF
     individual and Officer of the Azusa                AZUSA'S ANSWER TO FIRST
  16 Police Department; CITY OF AZUSA,                  AMENDED COMPLAINT;
     a public entity; and DOES 1 to 20,                 DEMAND FOR JURY TRIAL
  17
                   Defendants.
  18                                                    Complaint Filed: 01/06/22
                                                        FAC Filed:       01/12/22
  19                                                    Trial Date:      N/A
  20            Pursuant to Rule 8(b) of the Federal Rules of Civil Procedure, Defendants
  21 OFFICER R. MARTINEZ and CITY OF AZUSA ("Defendants") answer the First
  22 Amended Complaint of Plaintiff ("Plaintiff"). If an averment is not specifically
  23 admitted, it is hereby denied.
  24                                    ANSWER TO COMPLAINT
  25            1.         Answering Paragraph 1, Defendants lack sufficient knowledge or
  26 information to form a belief concerning the truth of the factual allegations contained
  27 therein and on that basis deny such allegations. Paragraph 1 further contains legal
  28 conclusions and argument as to which no response is required.
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   1            2.         Answering Paragraph 2, Defendants lack sufficient knowledge or
   2 information to form a belief concerning the truth of the factual allegations contained
   3 therein and on that basis deny such allegations. Paragraph 2 further contains legal
   4 conclusions and argument as to which no response is required.
   5            3.         Answering Paragraph 3, Defendants lack sufficient knowledge or
   6 information to form a belief concerning the truth of the factual allegations contained
   7 therein and on that basis deny such allegations. Paragraph 3 further contains legal
   8 conclusions and argument as to which no response is required.
   9            4.         Answering Paragraph 4, Defendants lack sufficient knowledge or
  10 information to form a belief concerning the truth of the factual allegations contained
  11 therein and on that basis deny such allegations. Paragraph 4 further contains legal
  12 conclusions and argument as to which no response is required.
  13            5.         Answering Paragraph 5, Defendants lack sufficient knowledge or
  14 information to form a belief concerning the truth of the factual allegations contained
  15 therein and on that basis deny such allegations. Paragraph 5 further contains legal
  16 conclusions and argument as to which no response is required.
  17            6.         Answering Paragraph 6, Defendants lack sufficient knowledge or
  18 information to form a belief concerning the truth of the factual allegations contained
  19 therein and on that basis deny such allegations. Paragraph 6 further contains legal
  20 conclusions and argument as to which no response is required.
  21            7.         Answering Paragraph 7, Defendants lack sufficient knowledge or
  22 information to form a belief concerning the truth of the factual allegations contained
  23 therein and on that basis deny such allegations. Paragraph 7 further contains legal
  24 conclusions and argument as to which no response is required.
  25            8.         Answering Paragraph 8, Defendants lack sufficient knowledge or
  26 information to form a belief concerning the truth of the factual allegations contained
  27 therein and on that basis deny such allegations. Paragraph 8 further contains legal
  28 conclusions and argument as to which no response is required.
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   1            9.         Answering Paragraph 9, Defendants lack sufficient knowledge or
   2 information to form a belief concerning the truth of the factual allegations contained
   3 therein and on that basis deny such allegations. Paragraph 9 further contains legal
   4 conclusions and argument as to which no response is required.
   5            10.        Answering Paragraph 10, Defendants lack sufficient knowledge or
   6 information to form a belief concerning the truth of the factual allegations contained
   7 therein and on that basis deny such allegations. Paragraph 10 further contains legal
   8 conclusions and argument as to which no response is required.
   9            11.        Answering Paragraph 11, Defendants deny each and every allegation
  10 contained therein.
  11            12.        Answering Paragraph 12, Defendants deny each and every allegation
  12 contained therein.
  13            13.        Answering Paragraph 13, Defendants lack sufficient knowledge or
  14 information to form a belief concerning the truth of the factual allegations contained
  15 therein and on that basis deny such allegations. Paragraph 13 further contains legal
  16 conclusions and argument as to which no response is required.
  17            14.        Answering Paragraph 14, Defendants lack sufficient knowledge or
  18 information to form a belief concerning the truth of the factual allegations contained
  19 therein and on that basis deny such allegations. Paragraph 14 further contains legal
  20 conclusions and argument as to which no response is required.
  21            15.        Answering Paragraph 15, Defendants lack sufficient knowledge or
  22 information to form a belief concerning the truth of the factual allegations contained
  23 therein and on that basis deny such allegations. Paragraph 15 further contains legal
  24 conclusions and argument as to which no response is required.
  25            16.        Answering Paragraph 16, Defendants lack sufficient knowledge or
  26 information to form a belief concerning the truth of the factual allegations contained
  27 therein and on that basis deny such allegations. Paragraph 16 further contains legal
  28 conclusions and argument as to which no response is required.
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   1            17.        Answering Paragraph 17, Defendants lack sufficient knowledge or
   2 information to form a belief concerning the truth of the factual allegations contained
   3 therein and on that basis deny such allegations. Paragraph 17 further contains legal
   4 conclusions and argument as to which no response is required.
   5            18.        Answering Paragraph 18, Defendants lack sufficient knowledge or
   6 information to form a belief concerning the truth of the factual allegations contained
   7 therein and on that basis deny such allegations. Paragraph 18 further contains legal
   8 conclusions and argument as to which no response is required.
   9            19.        Answering Paragraph 19, Defendants lack sufficient knowledge or
  10 information to form a belief concerning the truth of the factual allegations contained
  11 therein and on that basis deny such allegations. Paragraph 19 further contains legal
  12 conclusions and argument as to which no response is required.
  13            20.        Answering Paragraph 20, Defendants lack sufficient knowledge or
  14 information to form a belief concerning the truth of the factual allegations contained
  15 therein and on that basis deny such allegations. Paragraph 20 further contains legal
  16 conclusions and argument as to which no response is required.
  17            21.        Answering Paragraph 21, Defendants lack sufficient knowledge or
  18 information to form a belief concerning the truth of the factual allegations contained
  19 therein and on that basis deny such allegations. Paragraph 21 further contains legal
  20 conclusions and argument as to which no response is required.
  21            22.        Answering Paragraph 22, Defendants lack sufficient knowledge or
  22 information to form a belief concerning the truth of the factual allegations contained
  23 therein and on that basis deny such allegations. Paragraph 22 further contains legal
  24 conclusions and argument as to which no response is required.
  25            23.        Answering Paragraph 23, Defendants lack sufficient knowledge or
  26 information to form a belief concerning the truth of the factual allegations contained
  27 therein and on that basis deny such allegations. Paragraph 23 further contains legal
  28 conclusions and argument as to which no response is required.
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   1            24.        Answering Paragraph 24, Defendants lack sufficient knowledge or
   2 information to form a belief concerning the truth of the factual allegations contained
   3 therein and on that basis deny such allegations. Paragraph 24 further contains legal
   4 conclusions and argument as to which no response is required.
   5            25.        Answering Paragraph 25, Defendants lack sufficient knowledge or
   6 information to form a belief concerning the truth of the factual allegations contained
   7 therein and on that basis deny such allegations. Paragraph 25 further contains legal
   8 conclusions and argument as to which no response is required.
   9            26.        Answering Paragraph 26, Defendants lack sufficient knowledge or
  10 information to form a belief concerning the truth of the factual allegations contained
  11 therein and on that basis deny such allegations. Paragraph 26 further contains legal
  12 conclusions and argument as to which no response is required.
  13            27.        Answering Paragraph 27, Defendants lack sufficient knowledge or
  14 information to form a belief concerning the truth of the factual allegations contained
  15 therein and on that basis deny such allegations. Paragraph 27 further contains legal
  16 conclusions and argument as to which no response is required.
  17            28.        Answering Paragraph 28 and all subparagraphs contained within
  18 Paragraph 28, Defendants deny each and every allegation contained therein.
  19            29.        Answering Paragraph 29, Defendants deny each and every allegation
  20 contained therein.
  21            30.        Answering Paragraph 30 and all subparagraphs contained within
  22 Paragraph 30, Defendants deny each and every allegation contained therein.
  23            31.        Answering Paragraph 31, Defendants deny each and every allegation
  24 contained therein.
  25            32.        Answering Paragraph 32, Defendants deny each and every allegation
  26 contained therein.
  27            33.        Answering Paragraph 33, Defendants deny each and every allegation
  28 contained therein.
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   1            34.        Answering Paragraph 34, Defendants deny each and every allegation
   2 contained therein.
   3            35.        Answering Paragraph 35, Defendants deny each and every allegation
   4 contained therein.
   5            36.        Answering Paragraph 36 and all subparagraphs contained within
   6 Paragraph 36, Defendants deny each and every allegation contained therein.
   7            37.        Answering Paragraph 37, Defendants deny each and every allegation
   8 contained therein.
   9            38.        Answering Paragraph 38 and all subparagraphs contained within
  10 Paragraph 38, Defendants deny each and every allegation contained therein.
  11            39.        Answering Paragraph 39, Defendants deny each and every allegation
  12 contained therein.
  13            40.        Answering Paragraph 40, Defendants deny each and every allegation
  14 contained therein.
  15            41.        Answering Paragraph 41, Defendants deny each and every allegation
  16 contained therein.
  17            42.        Answering Paragraph 42, Defendants deny each and every allegation
  18 contained therein.
  19            43.        Answering Paragraph 43, Defendants deny each and every allegation
  20 contained therein.
  21            44.        Answering Paragraph 44, Defendants deny each and every allegation
  22 contained therein.
  23            45.        Answering Paragraph 45, Defendants deny each and every allegation
  24 contained therein.
  25            46.        Answering Paragraph 46, Defendants deny each and every allegation
  26 contained therein.
  27            47.        Answering Paragraph 47, Defendants deny each and every allegation
  28 contained therein.
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   1            48.        Answering Paragraph 48, Defendants deny each and every allegation
   2 contained therein.
   3            49.        Answering Paragraph 49, Defendants deny each and every allegation
   4 contained therein.
   5            50.        Answering Paragraph 50, Defendants deny each and every allegation
   6 contained therein.
   7            51.        Answering Paragraph 51, Defendants deny each and every allegation
   8 contained therein.
   9            52.        Answering Paragraph 52 and all subparagraphs contained within
  10 Paragraph 52, Defendants deny each and every allegation contained therein.
  11                                     AFFIRMATIVE DEFENSES
  12            Defendants plead the following separate defenses. Defendants reserve the right
  13 to assert additional affirmative defenses that discovery indicates are proper.
  14                                 FIRST AFFIRMATIVE DEFENSE
  15                                      (Tort Claims Act Violation)
  16            53.        This action is barred by the Plaintiff's failure to comply with the
  17 government tort claims presentation requirements, California Government Code §
  18 900, et seq., including but not limited to §§ 900, 900.4, 901, 905, 905.2, 910, 911,
  19 911.2, 911.4, 945.4, 945.6, 946.6, 950.2, and 950.6, to the extent applicable.
  20            54.        The First Amended Complaint is barred based on plaintiff's failure to
  21 exhaust administrative remedies prior to filing this lawsuit.
  22            55.        Plaintiff's recovery is barred for failure to timely comply with the
  23 provisions of the claims statutes, including, but not limited to California Government
  24 Code §§ 901, 905, 905.2, 911.2, 945.4, 945.6, 950.2.
  25            56.        Plaintiff's recovery is barred because the causes of action stated in the
  26 First Amended Complaint do not correspond with the legal claims asserted in
  27 Plaintiff's written claim. The First Amended Complaint thereby alleges legal bases
  28 for recovery which are not fairly reflected in the written claim.
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   1                                 SECOND AFFIRMATIVE DEFENSE
   2                                     (Waiver, Estoppel, Unclean Hands)
   3            57.        Defendants allege that plaintiff's action is barred by reason of conduct,
   4 actions and inactions of plaintiff which amount to and constitute a waiver of any right
   5 plaintiff may or might have had in reference to the matters and things alleged in the
   6 First Amended Complaint, or that otherwise estop plaintiff from recovery in this
   7 action, including but not limited to the doctrine of unclean hands.
   8                                     THIRD AFFIRMATIVE DEFENSE
   9                                       (Failure to Mitigate Damages)
  10            58.        Plaintiff's claims are barred or limited to the extent plaintiff failed to
  11 mitigate plaintiff's injuries or damages, if there were any. Plaintiff has failed to
  12 mitigate the damages, if any, which plaintiff has sustained, and to exercise reasonable
  13 care to avoid the consequences of harms, if any, in that, among other things, plaintiff
  14 has failed to use reasonable diligence in caring for any injuries, failed to use
  15 reasonable means to prevent aggravation of any injuries and failed to take reasonable
  16 precautions to reduce any injuries and damages.
  17                                 FOURTH AFFIRMATIVE DEFENSE
  18                             (Contributory and/or Comparative Liability)
  19            59.        Plaintiff's     claims   are   barred    or     limited   by    plaintiff's
  20 contributory/comparative negligence or other conduct, acts, or omissions, and to the
  21 extent plaintiff suffered any injury or damages, it was the result of plaintiff's own
  22 negligent or deliberate actions or omissions.
  23            60.        Plaintiff's recovery is barred because any injury or damage suffered by
  24 plaintiff were caused solely by reason of the plaintiff's wrongful acts and conduct.
  25 The conduct set forth in the First Amended Complaint, if and to the extent it occurred,
  26 was privileged and justified and done with a good faith belief that it was correct and
  27 no action may be taken against the answering defendants on account of such conduct.
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   1                                 FIFTH AFFIRMATIVE DEFENSE
   2                        (Public Entity/Employee Immunity for Others' Torts)
   3            61.        Plaintiff's recovery is barred because public entities and employees are
   4 immune from liability for any injury caused by the act or omission of another person.
   5 Gov. Code §§ 815 et seq., 820.2 et seq.
   6            62.        The answering defendants are informed and believe and thereon allege
   7 that if plaintiff sustained any injury or damages, such injury or damages were solely
   8 caused or contributed to by the wrongful conduct of other defendants and/or entities
   9 or persons other than the answering defendants. To the extent that plaintiff's damages
  10 were so caused, any recovery by plaintiff as against the answering defendants should
  11 be subject to proportionately comparative equitable indemnity/contribution from such
  12 third parties.
  13                                 SIXTH AFFIRMATIVE DEFENSE
  14                      (Public Entity/Employee Immunity for Discretionary Acts)
  15            63.        There is no liability for any injury or damages, if any there were,
  16 resulting from an exercise of discretion vested in a public employee, whether or not
  17 such discretion be abused. Gov. Code § 815.2, 820.2, 820.4, 820.8, 820 et seq.
  18            64.        Plaintiff's recovery is barred because public entities and employees are
  19 immune from liability for discharging their mandatory duties with reasonable
  20 diligence.
  21            65.        A public employee may not be held liable for injuries or damages, if any,
  22 caused by failure to adopt or by adoption of an enactment or by failure to enforce an
  23 enactment and/or law, for an injury caused by his issuance, denial, suspension or
  24 revocation or by his failure or refusal to issue, deny, suspend or revoke, any permit,
  25 license, certificate, approval, order, or similar authorization, where he is authorized
  26 by enactment to determine whether or not such authorization should be issued, denied,
  27 suspended or revoked, pursuant to Government Code §§ 818.2, 818.4, 818.8, 821 and
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    1 821.2. Based thereon, the answering defendants are immune from liability for any
    2 injuries claimed by plaintiff, herein.
    3            66.        This/these defendants are immune for any detriment resulting from any
    4 of its actions or omissions at the time of the incident of which plaintiff complain
    5 pursuant to Government Code § 810 et seq., 815 et seq., 820 et seq., and 845 et seq.,
    6 including, but not limited to, §§ 810, 810.2, 810.4, 810.6, 810.8, 811, 811.2, 811.4,
    7 811.6, 811.8, 820.6, 820.8, 821, 821.2, 821.4, 821.6, 821.8, 822.2, 830.5, 830.6,
    8 835.4, 844.6, and Government Code §§ 854, et seq., including, but not limited to, §§
    9 845.6, 854.6, 854.8(a)(2), and §§ 855.4, 855.6, 855.8 and 856.4.
   10                               SEVENTH AFFIRMATIVE DEFENSE
   11                                      (Public Entity Immunity)
   12            67.        To the extent that the First Amended Complaint attempts to predicate
   13 liability upon any public entity defendants or any employees thereof for purported
   14 negligence in retention, hiring, employment, training, or supervision of any public
   15 employee, such liability is barred by Government Code sections 815.2 and 820.2 and
   16 Herndon v. County of Marin (1972) 25 Cal. App. 3d 933, 935, 936, rev’d on other
   17 grounds by Sullivan v. County of Los Angeles (1974) 12 Cal.3d 710; and by the lack
   18 of any duty running to any plaintiffs; by the fact that any such purported act or
   19 omission is governed exclusively by statute and is outside the purview of any public
   20 employees’ authority; and by the failure of any such acts or omissions to be the
   21 proximate or legal cause of any injury alleged in the First Amended Complaint. See
   22 de Villers v. County of San Diego, 156 Cal.App.4th 238, 251-253, 255-256 (2007).
   23            68.        These defendants may not be held liable on a respondeat superior theory
   24 for any negligent or wrongful act or omission on the part of any subordinate. Cal.
   25 Government Code §§ 844.6, 845.6; Cal. Civil Code § 2351; Malloy v. Fong (1951)
   26 37 Cal.2d 356, 378-379; Monell v. Department of Social Services of the City of New
   27 York (1978) 436 U.S. 658; Larez v. City of Los Angeles (9th Cir. 1991) 946 F.2d 630,
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    1 645-646; cf. City of Canton v. Harris, 489 U.S. 378, 388-389 (1989); City of Los
    2 Angeles v. Heller, 475 U.S. 796 (1986).
    3                                EIGHTH AFFIRMATIVE DEFENSE
    4                            (Qualified Immunity & Good Faith Immunity)
    5            69.        Defendants and its agents or officers at all times relevant to this action
    6 acted reasonably and prudently under the circumstances. Defendants therefore assert
    7 the individual defendants’ Qualified Immunity from liability to the fullest extent
    8 applicable.
    9            70.        Defendants are immune from liability under the Federal Civil Rights Act
   10 because they acted in good faith with an honest and reasonable belief that their actions
   11 were necessary and appropriate. Defendants are immune from liability under the
   12 Federal Civil Rights Act because a reasonable police officer could believe that their
   13 acts and conduct were appropriate. Defendants are immune from liability under the
   14 Federal Civil Rights Act because their conduct did not violate clearly established
   15 rights. Defendants are also immune from liability under the doctrine of Qualified
   16 Immunity.
   17            71.        At all relevant times, defendants acted within the scope of discretion,
   18 with due care, and good faith fulfillment of responsibilities pursuant to applicable
   19 statutes, rules and regulation, within the bounds of reason, and with the good faith
   20 belief that their actions comported with all applicable federal and state laws. Harlow
   21 v. Fitzgerald (1982) 457 U.S. 800; Cal Gov. Code §§ 815.2 and 820.2.
   22                                 NINTH AFFIRMATIVE DEFENSE
   23                                         (Assumption of Risk)
   24            72.        At the times and places referred to in the First Amended Complaint for
   25 Damages, and before such event, plaintiff knew, appreciated, and understood each
   26 and every risk involved in placing themselves in the position which plaintiff then
   27 assumed, and willingly, knowingly and voluntarily assumed each of such risks,
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    1 including, but not limited to, the risk of suffering personal injury and/or lawful
    2 deprivation of right(s).
    3                                 TENTH AFFIRMATIVE DEFENSE
    4            73.        Defendants contend that they cannot fully anticipate all affirmative
    5 defenses that may be applicable to this action based on the conclusory terms used in
    6 plaintiff's First Amended Complaint. Accordingly, defendants expressly reserve the
    7 right to assert additional affirmative defenses if and to the extent that such affirmative
    8 defenses become applicable.
    9            WHEREFORE, Defendants pray for relief as follows:
   10            1.         That the First Amended Complaint be dismissed, with prejudice and in
   11 its entirety;
   12            2.         That Plaintiff take nothing by reason of this First Amended Complaint
   13 and that judgment be entered against Plaintiff and in favor of Defendants;
   14            3.         That Defendants be awarded their costs incurred in defending this action;
   15            4.         That Defendants be granted such other and further relief as the Court
   16 may deem just and proper.
   17 DATED: February 16, 2022                     MANNING & KASS
                                                   ELLROD, RAMIREZ, TRESTER LLP
   18
   19
   20                                              By:         /s/ Mildred K. O'Linn
   21                                                    Mildred K. O'Linn
                                                         Garros Chan
   22
                                                         Attorneys for Defendants, OFFICER R.
   23                                                    MARTINEZ, an individual and Officer of
   24                                                    the Azusa Police Department, CITY OF
                                                         AZUSA, a public entity
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    1                                    DEMAND FOR JURY TRIAL
    2            Defendants, OFFICER R. MARTINEZ and CITY OF AZUSA, hereby demand
    3 trial of this matter by jury.
    4 DATED: February 16, 2022                    MANNING & KASS
                                                  ELLROD, RAMIREZ, TRESTER LLP
    5
    6
    7                                             By:         /s/ Mildred K. O'Linn
    8                                                   Mildred K. O'Linn
                                                        Garros Chan
    9
                                                        Attorneys for Defendants, OFFICER R.
   10                                                   MARTINEZ, an individual and Officer of
   11                                                   the Azusa Police Department, CITY OF
                                                        AZUSA, a public entity
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